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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

MECOLE SCOTT,                                                                        Plaintiff(s),

v.                                                            Civil Action No. 3:22-cv-480-DJH

O’CHARLEY’S RESTAURANT                                                             Defendant(s).
PROPERTIES, LLC,

                                              * * * * *

                           ORDER FOR MEETING AND REPORT

       Pursuant to the Federal Rules of Civil Procedure, it is hereby ORDERED as follows:

       (1)     Magistrate Judge Lindsay will conduct a telephonic Rule 16 scheduling

conference on October 26, 2022, at 10:30 a.m. Counsel for the parties shall connect to the

telephonic status conference by dialing the toll-free number 1-888-808-6929, access code

2773744. Counsel who will try the case shall participate in the conference. Exceptions to this

requirement shall be with the understanding that counsel who participate on behalf of any party

(a) shall be fully prepared to discuss all aspects of the case with respect to the matters to be

scheduled; (b) shall be empowered to bind all counsel for that party with respect to dates agreed

upon or ordered; and (c) shall have authority to enter into stipulations and to make admissions

regarding all matters that the participants may reasonably anticipate may be discussed at the

conference.

       Any request for a change of the conference date shall be made to Magistrate Judge

Lindsay’s Case Manager, Theresa Burch, at theresa_burch@kywd.uscourts.gov no later than

three (3) days prior to the conference.

       (2)     The agenda for the conference shall include items set forth in Rule 16(c),

including but not limited to the following:

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                 (a)    formulation and simplification of the issues;

                 (b)    admissions and stipulations of fact;

                 (c)    consideration of the proposed discovery plan and review of the initial

disclosures;

                 (d)    the possibility of settlement or the use of alternative methods of dispute

resolution, including mediation; and

                 (e)    any need to adopt special procedures for managing potentially difficult or

complex issues.

       (3)       No later than twenty-one (21) days before the Rule 16 conference, counsel for

the parties shall conduct the conference of parties required by Rule 26(f). Topics to be addressed

at the conference shall include possibilities for promptly settling or resolving the case, any issues

related to the preservation of discoverable information, and the development of a discovery plan.

       (4)       At the time of the Rule 26(f) conference of parties or within fourteen (14) days

thereafter, counsel for the parties shall exchange the disclosures required by Rule 26(a)(1).

Counsel shall make supplemental disclosures as required by Rule 26(e).

       (5)       Within fourteen (14) days after the Rule 26(f) conference of parties, counsel for

the parties shall file a written joint report outlining the proposed discovery plan and informing

the Court whether prompt settlement of the case is possible. The report shall substantially

conform to Federal Rules of Civil Procedure Appendix Form 52 and shall advise the Court as to

the following:

                 (a)    the parties’ views and proposals required by Rule 26(f);

                 (b)    the length of time counsel reasonably believe will be necessary to join

other parties and to amend the pleadings;



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                  (c)   the length of time counsel reasonably believe will be necessary to file

motions;

                  (d)   any issues upon which preliminary discovery will be needed and the

length of time counsel reasonably believe will be necessary to conduct such discovery;

                  (e)   the length of time counsel reasonably believe will be necessary to

complete all pretrial discovery, including expert witness discovery;

                  (f)   the length of time counsel reasonably believe will be necessary for the

parties to make the expert disclosures required by Rule 26(a)(2);

                  (g)   any special instructions concerning interrogatories, requests for admission,

or depositions;

                  (h)   the probable length of trial and whether there will be issues to submit to a

jury;

                  (i)   the dates that are mutually convenient for counsel to assign this case for

trial.



         Dated:         September 15, 2022

                                              ENTERED BY ORDER OF COURT
                                              COLIN H. LINDSAY, MAGISTRATE JUDGE
                                              UNITED STATES DISTRICT COURT
                                              WESTERN DISTRICT OF KENTUCKY

                                       By:    /s/ Natalie W. Thompson
                                              Natalie W. Thompson, Deputy Clerk




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